Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 1 of 211 Page ID
                                  #:398




                                    213
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 2 of 211 Page ID
                                  #:399




                                    214
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 3 of 211 Page ID
                                  #:400




                                    215
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 4 of 211 Page ID
                                  #:401




                                    216
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 5 of 211 Page ID
                                  #:402




                                    217
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 6 of 211 Page ID
                                  #:403




                                    218
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 7 of 211 Page ID
                                  #:404




                                    219
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 8 of 211 Page ID
                                  #:405




                                    220
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 9 of 211 Page ID
                                  #:406




                                    221
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 10 of 211 Page ID
                                   #:407




                                     222
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 11 of 211 Page ID
                                   #:408




                                     223
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 12 of 211 Page ID
                                   #:409




                                     224
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 13 of 211 Page ID
                                   #:410




                                     225
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 14 of 211 Page ID
                                   #:411




                                     226
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 15 of 211 Page ID
                                   #:412




                                     227
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 16 of 211 Page ID
                                   #:413




                                     228
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 17 of 211 Page ID
                                   #:414




                                     229
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 18 of 211 Page ID
                                   #:415




                                     230
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 19 of 211 Page ID
                                   #:416




                                     231
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 20 of 211 Page ID
                                   #:417




                                     232
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 21 of 211 Page ID
                                   #:418




                                     233
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 22 of 211 Page ID
                                   #:419




                                     234
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 23 of 211 Page ID
                                   #:420




                                     235
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 24 of 211 Page ID
                                   #:421




                                     236
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 25 of 211 Page ID
                                   #:422




                                     237
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 26 of 211 Page ID
                                   #:423




                                     238
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 27 of 211 Page ID
                                   #:424




                                     239
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 28 of 211 Page ID
                                   #:425




                                     240
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 29 of 211 Page ID
                                   #:426




                                     241
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 30 of 211 Page ID
                                   #:427




                                     242
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 31 of 211 Page ID
                                   #:428




                                     243
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 32 of 211 Page ID
                                   #:429




                                     244
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 33 of 211 Page ID
                                   #:430




                                     245
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 34 of 211 Page ID
                                   #:431




                                     246
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 35 of 211 Page ID
                                   #:432




                                     247
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 36 of 211 Page ID
                                   #:433




                                     248
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 37 of 211 Page ID
                                   #:434




                                     249
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 38 of 211 Page ID
                                   #:435




                                     250
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 39 of 211 Page ID
                                   #:436




                                     251
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 40 of 211 Page ID
                                   #:437




                                     252
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 41 of 211 Page ID
                                   #:438




                                     253
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 42 of 211 Page ID
                                   #:439




                                     254
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 43 of 211 Page ID
                                   #:440




                                     255
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 44 of 211 Page ID
                                   #:441




                                     256
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 45 of 211 Page ID
                                   #:442




                                     257
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 46 of 211 Page ID
                                   #:443




                                     258
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 47 of 211 Page ID
                                   #:444




                                     259
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 48 of 211 Page ID
                                   #:445




                                     260
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 49 of 211 Page ID
                                   #:446




                                     261
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 50 of 211 Page ID
                                   #:447




                                     262
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 51 of 211 Page ID
                                   #:448




                                     263
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 52 of 211 Page ID
                                   #:449




                                     264
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 53 of 211 Page ID
                                   #:450




                                     265
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 54 of 211 Page ID
                                   #:451




                                     266
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 55 of 211 Page ID
                                   #:452




                                     267
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 56 of 211 Page ID
                                   #:453




                                     268
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 57 of 211 Page ID
                                   #:454




                                     269
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 58 of 211 Page ID
                                   #:455




                                     270
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 59 of 211 Page ID
                                   #:456




                                     271
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 60 of 211 Page ID
                                   #:457




                                     272
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 61 of 211 Page ID
                                   #:458




                                     273
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 62 of 211 Page ID
                                   #:459




                                     274
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 63 of 211 Page ID
                                   #:460




                                     275
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 64 of 211 Page ID
                                   #:461




                                     276
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 65 of 211 Page ID
                                   #:462




                                     277
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 66 of 211 Page ID
                                   #:463




                                     278
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 67 of 211 Page ID
                                   #:464




                                     279
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 68 of 211 Page ID
                                   #:465




                                     280
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 69 of 211 Page ID
                                   #:466




                                     281
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 70 of 211 Page ID
                                   #:467




                                     282
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 71 of 211 Page ID
                                   #:468




                                     283
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 72 of 211 Page ID
                                   #:469




                                     284
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 73 of 211 Page ID
                                   #:470




                                     285
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 74 of 211 Page ID
                                   #:471




                                     286
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 75 of 211 Page ID
                                   #:472




                                     287
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 76 of 211 Page ID
                                   #:473




                                     288
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 77 of 211 Page ID
                                   #:474




                                     289
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 78 of 211 Page ID
                                   #:475




                                     290
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 79 of 211 Page ID
                                   #:476




                                     291
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 80 of 211 Page ID
                                   #:477




                                     292
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 81 of 211 Page ID
                                   #:478




                                     293
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 82 of 211 Page ID
                                   #:479




                                     294
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 83 of 211 Page ID
                                   #:480




                                     295
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 84 of 211 Page ID
                                   #:481




                                     296
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 85 of 211 Page ID
                                   #:482




                                     297
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 86 of 211 Page ID
                                   #:483




                                     298
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 87 of 211 Page ID
                                   #:484




                                     299
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 88 of 211 Page ID
                                   #:485




                                     300
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 89 of 211 Page ID
                                   #:486




                                     301
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 90 of 211 Page ID
                                   #:487




                                     302
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 91 of 211 Page ID
                                   #:488




                                     303
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 92 of 211 Page ID
                                   #:489




                                     304
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 93 of 211 Page ID
                                   #:490




                                     305
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 94 of 211 Page ID
                                   #:491




                                     306
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 95 of 211 Page ID
                                   #:492




                                     307
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 96 of 211 Page ID
                                   #:493




                                     308
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 97 of 211 Page ID
                                   #:494




                                     309
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 98 of 211 Page ID
                                   #:495




                                     310
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 99 of 211 Page ID
                                   #:496




                                     311
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 100 of 211 Page ID
                                    #:497




                                     312
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 101 of 211 Page ID
                                    #:498




                                     313
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 102 of 211 Page ID
                                    #:499




                                     314
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 103 of 211 Page ID
                                    #:500




                                     315
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 104 of 211 Page ID
                                    #:501




                                     316
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 105 of 211 Page ID
                                    #:502




                                     317
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 106 of 211 Page ID
                                    #:503




                                     318
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 107 of 211 Page ID
                                    #:504




                                     319
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 108 of 211 Page ID
                                    #:505




                                     320
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 109 of 211 Page ID
                                    #:506




                                     321
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 110 of 211 Page ID
                                    #:507




                                     322
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 111 of 211 Page ID
                                    #:508




                                     323
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 112 of 211 Page ID
                                    #:509




                                     324
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 113 of 211 Page ID
                                    #:510




                                     325
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 114 of 211 Page ID
                                    #:511




                                     326
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 115 of 211 Page ID
                                    #:512




                                     327
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 116 of 211 Page ID
                                    #:513




                                     328
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 117 of 211 Page ID
                                    #:514




                                     329
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 118 of 211 Page ID
                                    #:515




                                     330
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 119 of 211 Page ID
                                    #:516




                                     331
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 120 of 211 Page ID
                                    #:517




                                     332
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 121 of 211 Page ID
                                    #:518




                                     333
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 122 of 211 Page ID
                                    #:519




                                     334
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 123 of 211 Page ID
                                    #:520




                                     335
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 124 of 211 Page ID
                                    #:521




                                     336
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 125 of 211 Page ID
                                    #:522




                                     337
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 126 of 211 Page ID
                                    #:523




                                     338
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 127 of 211 Page ID
                                    #:524




                                     339
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 128 of 211 Page ID
                                    #:525




                                     340
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 129 of 211 Page ID
                                    #:526




                                     341
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 130 of 211 Page ID
                                    #:527




                                     342
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 131 of 211 Page ID
                                    #:528




                                     343
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 132 of 211 Page ID
                                    #:529




                                     344
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 133 of 211 Page ID
                                    #:530




                                     345
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 134 of 211 Page ID
                                    #:531




                                     346
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 135 of 211 Page ID
                                    #:532




                                     347
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 136 of 211 Page ID
                                    #:533




                                     348
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 137 of 211 Page ID
                                    #:534




                                     349
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 138 of 211 Page ID
                                    #:535




                                     350
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 139 of 211 Page ID
                                    #:536




                                     351
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 140 of 211 Page ID
                                    #:537




                                     352
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 141 of 211 Page ID
                                    #:538




                                     353
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 142 of 211 Page ID
                                    #:539




                                     354
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 143 of 211 Page ID
                                    #:540




                                     355
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 144 of 211 Page ID
                                    #:541




                                     356
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 145 of 211 Page ID
                                    #:542




                                     357
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 146 of 211 Page ID
                                    #:543




                                     358
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 147 of 211 Page ID
                                    #:544




                                     359
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 148 of 211 Page ID
                                    #:545




                                     360
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 149 of 211 Page ID
                                    #:546




                                     361
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 150 of 211 Page ID
                                    #:547




                                     362
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 151 of 211 Page ID
                                    #:548




                                     363
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 152 of 211 Page ID
                                    #:549




                                     364
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 153 of 211 Page ID
                                    #:550




                                     365
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 154 of 211 Page ID
                                    #:551




                                     366
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 155 of 211 Page ID
                                    #:552




                                     367
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 156 of 211 Page ID
                                    #:553




                                     368
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 157 of 211 Page ID
                                    #:554




                                     369
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 158 of 211 Page ID
                                    #:555




                                     370
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 159 of 211 Page ID
                                    #:556




                                     371
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 160 of 211 Page ID
                                    #:557




                                     372
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 161 of 211 Page ID
                                    #:558




                                     373
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 162 of 211 Page ID
                                    #:559




                                     374
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 163 of 211 Page ID
                                    #:560




                                     375
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 164 of 211 Page ID
                                    #:561




                                     376
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 165 of 211 Page ID
                                    #:562




                                     377
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 166 of 211 Page ID
                                    #:563




                                     378
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 167 of 211 Page ID
                                    #:564




                                     379
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 168 of 211 Page ID
                                    #:565




                                     380
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 169 of 211 Page ID
                                    #:566




                                     381
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 170 of 211 Page ID
                                    #:567




                                     382
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 171 of 211 Page ID
                                    #:568




                                     383
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 172 of 211 Page ID
                                    #:569




                                     384
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 173 of 211 Page ID
                                    #:570




                                     385
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 174 of 211 Page ID
                                    #:571




                                     386
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 175 of 211 Page ID
                                    #:572




                                     387
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 176 of 211 Page ID
                                    #:573




                                     388
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 177 of 211 Page ID
                                    #:574




                                     389
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 178 of 211 Page ID
                                    #:575




                                     390
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 179 of 211 Page ID
                                    #:576




                                     391
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 180 of 211 Page ID
                                    #:577




                                     392
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 181 of 211 Page ID
                                    #:578




                                     393
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 182 of 211 Page ID
                                    #:579




                                     394
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 183 of 211 Page ID
                                    #:580




                                     395
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 184 of 211 Page ID
                                    #:581




                                     396
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 185 of 211 Page ID
                                    #:582




                                     397
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 186 of 211 Page ID
                                    #:583




                                     398
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 187 of 211 Page ID
                                    #:584




                                     399
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 188 of 211 Page ID
                                    #:585




                                     400
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 189 of 211 Page ID
                                    #:586




                                     401
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 190 of 211 Page ID
                                    #:587




                                     402
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 191 of 211 Page ID
                                    #:588




                                     403
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 192 of 211 Page ID
                                    #:589




                                     404
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 193 of 211 Page ID
                                    #:590




                                     405
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 194 of 211 Page ID
                                    #:591




                                     406
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 195 of 211 Page ID
                                    #:592




                                     407
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 196 of 211 Page ID
                                    #:593




                                     408
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 197 of 211 Page ID
                                    #:594




                                     409
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 198 of 211 Page ID
                                    #:595




                                     410
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 199 of 211 Page ID
                                    #:596




                                     411
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 200 of 211 Page ID
                                    #:597




                                     412
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 201 of 211 Page ID
                                    #:598




                                     413
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 202 of 211 Page ID
                                    #:599




                                     414
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 203 of 211 Page ID
                                    #:600




                                     415
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 204 of 211 Page ID
                                    #:601




                                     416
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 205 of 211 Page ID
                                    #:602




                                     417
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 206 of 211 Page ID
                                    #:603




                                     418
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 207 of 211 Page ID
                                    #:604




                                     419
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 208 of 211 Page ID
                                    #:605




                                     420
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 209 of 211 Page ID
                                    #:606




                                     421
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 210 of 211 Page ID
                                    #:607




                                     422
Case 8:17-cv-01386-DOC-KES Document 16-2 Filed 10/10/17 Page 211 of 211 Page ID
                                    #:608




                                     423
